[EDITORS' NOTE:  THIS PAGE CONTAINS HEADNOTES. HEADNOTES ARE NOT AN OFFICIAL PRODUCT OF THE COURT, THEREFORE THEY ARE NOT DISPLAYED.] *Page 55 
The appeal from the order of the General Term, affirming the order of the Special Term, amending the judgment, must be dismissed, on the ground that the amendment did not change the character or force of the judgment as originally rendered, and the court cannot, in this proceeding, determine its validity, or whether it can be enforced against any property of the defendant which may be found at any time in this State.
The order affirming the order of the Special Term, denying the motion that the court fix a time for the examination of the defendant, under section 292 of the Code, must be affirmed. The case of Schwinger v. Hickok (53 N.Y., 280), is decisive against the right of the plaintiff to proceed in personam
against the defendant, by arresting him, as was done in this case, or for the purpose of compelling him to submit to an examination in respect to his property.
All concur; FOLGER and RAPALLO, JJ., not sitting.
Ordered accordingly. *Page 56 